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               AFFIDAVIT OF SPECIAL AGENT JOSEPH IANNACCONE
                    IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Joseph Iannaccone, Special Agent with the Department of Homeland Security,

Homeland Security Investigations, being duly sworn, depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

1.     I have been employed as a Special Agent of the U.S. Department of Homeland Security,

       Homeland Security Investigations (“HSI”) since 2009, and am currently assigned to the

       office of the Special Agent in Charge, Boston, MA. While employed by HSI, I have

       investigated federal criminal violations related to high technology or cybercrime, child

       exploitation, and child pornography. I have gained experience through training and

       everyday work related to these types of investigations. I have received training in the area

       of child pornography and child exploitation, and have had the opportunity to observe and

       review numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in all

       forms of media, including computer media. Moreover, I am a federal law enforcement

       officer who is engaged in enforcing criminal laws, including 18 U.S.C. §§ 1470, 2251,

       2252A, and 2422, and I am authorized by law to request a search warrant.

2.     I submit this affidavit in support of a criminal complaint charging Brian ORLANDELLA

       (YOB 1972) with the sexual exploitation of children, in violation of 18 U.S.C. § 2251, and

       the transfer of obscene material to minors, in violation of 18 U.S.C. § 1470.

3.     The facts in this affidavit come from my personal observations and review of records, my

       training and experience, and information obtained from other agents and witnesses. This

       affidavit is intended to show merely that there is probable cause to secure a criminal

       complaint and does not set forth all of my knowledge about this matter. Where statements

       of others are set forth below, they are set forth in substance and in part.
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                            STATEMENT OF PROBABLE CAUSE

4.       On May 21 2018, a local police department in Texas (“the PD”) was contacted by the

         mother of a 13-year-old female (YOB 2004, hereinafter “Minor A,”)1 concerning a possible

         child exploitation case. Minor A’s mother reported to the PD that her daughter was using

         the Kik2 application on her mobile phone, and that adult male users were requesting photos

         of her inserting objects into her vagina. Minor A’s mother showed the PD portions of

         Minor A’s conversations with other users and gave Minor A’s phone to the PD.

5.       On May 22, 2018, Minor A’s mother granted the PD permission to search Minor A’s Kik

         account and phone. In so doing, the PD observed communications between Minor A and

         an individual utilizing the Kik username gianninyny.

6.       The communications visible to the PD between Minor A and gianninyny began on or about

         May 18, 2018. I have reviewed photographs of these messages, and have reproduced them

         below as they are captured in the photographs.

7.       In the messages, both Minor A and gianninyny refer to him as "Daddy;" in the first set of

         messages available to me, Minor A tells him that “U are the only daddy” and sends a

         “selfie” that shows her face and shoulders. It appears that she is carrying a notebook.




1
     Minor A’s identity is known to law enforcement.
2
     Kik Messenger, commonly called Kik, is a freeware instant messaging mobile app from the
     Canadian company Kik Interactive, available free of charge on iOS and Android operating
     systems. It uses a smartphone's (or other mobile device’s) data plan or Wi-Fi to transmit and
     receive messages, photos, videos, and other content after users register a username. A Kik
     username Kik is known for its features preserving users' anonymity, such as allowing users to
     register without providing a telephone number, true name, or true email address.

                                                  2
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8.       Gianninyny tells Minor A she “should make Daddy a video” and asks her “Make dada a

         video?” on May 19, 2018. On May 20, 2018, he again discusses her making videos, in the

         following exchange:

         Gianninyny:    Hi
                        Wyd?

         Minor A:       Just got out of tub

         Gianninyny:    Yea???? Can Daddy see?

         Minor A:       I used my brush hehe

         Gianninyny:    Mmmm yea? Did u make any videos?

         Minor A:       Yeah

         Gianninyny:    Mmmm show dada
                        Plzzzz

         Minor A:       [Image]3

         The image that is visible in the screenshot appears to be the initial frame of a video, in that

         it contains the typical “play button” icon (a triangle within a circle). Visible in the frame

         is the pubic area of a pubescent female, with what appears to be the handle of a purple

         hairbrush inserted into the vagina.

9.       In another exchange on May 20, 2018, they write:

         Gianninyny:    Baby. Help Daddy cum

         Minor A:       How

         Gianninyny:    I want nudes… And for u to talk like Daddy’s dirty slut ok?

         Minor A:       [Image referenced above in Paragraph 10]

3
     The Court has reviewed this image and found that it depicts a minor engaged in sexually explicit
     conduct.

                                                   3
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        Gianninyny:    Mmm yes
                       U already sent that tho

10.     Further in the exchange, they write:

        Gianninyny:    Where u want Daddy’s cum

        Minor A:       [Image, almost the entirety of which appears black]
                       In mouth

        Gianninyny:    Mmmmn
                       Baby more light… And video it pussy

        Minor A:       [Image]4

        The image that is visible in the screenshot depicts a close-up view of a hand spreading open

        the vagina of a pubescent female.

11.     The exchange continues:

        Gianninyny:    Mmmmm good girl
                       Such a good lil teen slut
                       Make daddy a video of that tight teen cunt

        Minor A:       [Image]5

        Gianninyny:    Mmmmm don’t u stop

        Minor A:       Sorry

        Gianninyny:    Plz more

        Minor A:       I had to something for my mom




4
    The Court has reviewed this image and found that it depicts a minor engaged in sexually explicit
    conduct.
5
    The Court has reviewed this image and found that it depicts a minor engaged in sexually explicit
    conduct.

                                                 4
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        The image that is visible in the screenshot appears to be the initial frame of a video, in that

        it contains the typical “play button” icon (a triangle within a circle). Visible in the frame

        is a close-up view of a hand spreading open the vagina of a pubescent female.

12.     During the course of the communications I observed, gianninyny sends Minor A an image

        and videos of his penis. None of the depictions show his face. Along with the screenshots,

        the PD sent two videos of gianninyny masturbating. In both videos and one image, he can

        be seen wearing a blue bracelet on what appears to be his left wrist.

13.     In the course of their communications, gianninyny refers to Minor A as his “lil teen slut.”

        On May 19, 2018, Minor A sends a photo of a drawing she made on graph paper that reads,

        “I love you Daddy.” Gianninyny responds, explicitly asking her age:

        Gianninyny:    Awwww. Daddy loves you too
                       Baby how old are u?

        Minor A:       14
                       Why

        Gianninyny:    Ubsur ur ok with my age? I’m like WAY older

        The following day, Minor A tells him that she has a track meet.

14.     In response to a subpoena issued on June 21, 2018, on June 22, 2018, Kik provided the PD

        with certain subscriber information related to the gianninyny account, including a log of

        connection IP addresses.6 There were two main IP addresses used to log onto the account.




6
    An internet protocol address, also known as a IP address, is a numerical label assigned to each
    device connected to a computer network that uses the Internet Protocol for communication.
    Investigators can typically procure subscriber information for an IP address belonging to
    particular cable/internet providers, which allows them to use such IP addresses to determine the
    physical address from which an individual connected to the internet.

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        One of those was registered to Verizon Wireless,7 and the other – 73.69.51.85 – belongs to

        Comcast Cable, LLC (“Comcast”). The Kik return also listed the phone associated with

        the account as a Motorola XT1635-01.

15.     In response to a July 11, 2018 subpoena, on July 30, 2018, Comcast provided the following

        subscriber information for the IP address:

        Subscriber name:      Brian Orlandella
        Service address:      34 Central St., Apt. 2
                              Beverly, MA 01915-5827
        Subscriber phone:     xxx-xxx-5793; xxx-xxx-39678
        User IDs:             xxxxxxxxxxxxxx@comcast.net

16.     The PD subsequently referred the matter to HSI Beaumont (Texas), and the matter was

        referred to HSI Boston on November 1, 2018. On or about November 13, 2018, HSI

        Boston received copies of the photographed Kik conversation between Minor A and

        gianninyny, other media from Minor A’s phone, and the aforementioned Kik and Comcast

        subpoena returns.

17.     HSI Boston determined that the Comcast service address is ORLANDELLA’s residential

        address. Public records indicate that ORLANDELLA is an Assistant Chief Probation

        Officer at the Lynn District Court. I have viewed photographs of ORLANDELLA from

        his wife’s publicly-accessible social media account; based on those photographs, and on

        the observations I made of him during our interactions today, I believe that he resembles

        the person depicted in the gianninyny profile picture.


7
    I know from my training and experience that Verizon Wireless is not able to identify a user by
    such an IP address.
8
    A search of CLEAR, a commercially-available public records search tool, shows that both
    phone numbers are registered to Verizon Wireless and associated with ORLANDELLA.

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18.   One of the photographs included in the social media account shows ORLANDELLA

      wearing a blue bracelet on his left wrist, which appears similar to the blue bracelet observed

      in the videos that gianninyny sent to Minor A, as referenced above in Paragraph 12.

                               Execution of the Search Warrant

19.   Based in part on the foregoing, this Court issued search warrants to search the person and

      residence of ORLANDELLA for evidence, fruits, and instrumentalities of violations of 18

      U.S.C. §§ 1470, 2251, 2252A, and 2422. Agents executed the search warrant on December

      3, 2018 at approximately 6:05 a.m.

20.   ORLANDELLA was present in the home at the time of execution. He was advised of and

      executed a written waiver of his rights pursuant to Miranda and agreed to speak with agents

      on scene. Portions of the interview were recorded. The following statements are summary

      in nature.

21.   ORLANDELLA admitted to having used Kik but said that he did not know when the last

      time he used it was and he did not remember his username. When agents showed him the

      gianninyny profile, he ultimately admitted that he was the adult male depicted in the profile

      picture.

22.   When asked, ORLANDELLA said it was possible that he had sent pornographic videos of

      himself to other users. When asked if he had ever received images or videos of others, he

      said that it was possible.

23.   At some point, agents showed ORLANDELLA various screenshots of videos and images

      sent to Minor A in the Kik conversation outlined above, some of which show an adult male

      masturbating in a bathroom. ORLANDELLA admitted that it was his bathroom. I



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      observed this bathroom and believe it to be the room depicted in the screenshots and in the

      videos recovered from Minor A’s phone. When he was asked whether it could be someone

      else in the screenshots, he said it would be doubtful.

24.   During the execution of the search, ORLANDELLA gave written consent for agents to

      search his vehicle. In the car, agents located a camouflage baseball hat with an American

      flag emblem across the front. The hat appears to be the same as or similar to the one visible

      in the gianninyny Kik account profile picture. Agents also located a blue bracelet in

      ORLANDELLA’s bedroom, which appears to be the same as or similar to the one depicted

      in the masturbation videos recovered from Minor A’s phone, as referenced above.

      ORLANDELLA claimed ownership of both items.

25.   During the execution of the search, agents located three phones, including two that matched

      the make and model number of the device most recently registered to the gianninyny Kik

      account. Forensic analysis of the phones is ongoing.

                                           CONCLUSION

26.   Based on all of the foregoing, I submit that there is probable cause to believe that:

      a.     on various dates between on or about May 18, 2018 and on or about May 20, 2018,

             ORLANDELLA did knowingly employ, use, persuade, induce, entice, and coerce

             a minor, “Minor A,” to engage in any sexually explicit conduct for the purpose of

             producing any visual depiction of such conduct and the visual depiction was

             produced and transmitted using materials that had been mailed, shipped, and

             transported in and affecting interstate and foreign commerce by any means,




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               including by computer, and attempted to do so, in violation of 18 U.S.C. §§ 2251(a)

               and (e); and

       b.      on various dates between on or about May 18, 2018 and on or about May 20, 2018,

               ORLANDELLA did use any facility and means of interstate and foreign commerce

               to knowingly transfer obscene matter to Minor A, an individual who had not

               attained the age of 16 years, knowing that Minor A had not attained the age of 16

               years, and attempted to do so, in violation of 18 U.S.C. § 1470.


Sworn to under the pains and penalties of perjury,



___________________________
Special Agent Joseph Iannaccone
Homeland Security Investigations

Subscribed and sworn to before me on December 3, 2018.


___________________________
Honorable Donald L. Cabell
United States Magistrate Judge




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